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                                22-1864



                                 IN THE


    United States Court of Appeals
                     FOR THE THIRD CIRCUIT

                      d
              CONSUMER FINANCIAL PROTECTION BUREAU ,

                                 —v.—
                                                            Plaintiff-Appellee,


      NATIONAL COLLEGIATE MASTER STUDENT LOAN TRUST, ET AL .,
                                                       Defendants-Appellants.


            APPEAL PURSUANT TO 28 U.S.C. § 1292(B) FROM AN ORDER
                  OF THE UNITED STATES DISTRICT COURT FOR
          THE DISTRICT OF DELAWARE, ENTERED ON DECEMBER 13, 2021
                      CIVIL ACTION NO. 1:17-CV-01323-SB



   BRIEF OF THE SECURITIES INDUSTRY AND FINANCIAL
 MARKETS ASSOCIATION AND THE CHAMBER OF COMMERCE
   OF THE UNITED STATES OF AMERICA, AS AMICI CURIAE
 IN SUPPORT OF DEFENDANTS-APPELLANTS AND REVERSAL



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                 CORPORATE DISCLOSURE STATEMENT
       Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, Amici

Curiae the Securities Industry and Financial Markets Association and the Chamber

of Commerce of the United States of America each states that it does not have a

parent corporation and that no publicly held company owns 10 percent or more of

its stock.




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                         INTEREST OF AMICI CURIAE1

      The Securities Industry and Financial Markets Association (“SIFMA”) is the

leading trade association for broker-dealers, investment banks, and asset managers

operating in the U.S. and global capital markets. On behalf of the industry’s one

million employees, SIFMA advocates on legislation, regulation, and business policy

affecting retail and institutional investors, equity and fixed-income markets and

related products and services. SIFMA serves as an industry coordinating body to

promote fair and orderly markets, informed regulatory compliance, and efficient

market operations and resiliency. It also provides a forum for industry policy and

professional development. SIFMA is the U.S. regional member of the Global

Financial Markets Association.

      The Chamber of Commerce of the United States of America (the “Chamber”)

is the world’s largest business federation. The Chamber represents approximately

300,000 direct members and indirectly represents the interests of more than 3 million

companies and professional organizations of every size, in every industry sector, and

from every region of the country. An important function of the Chamber is to



1
      SIFMA and the Chamber affirm that no counsel for a party authored this Brief
      in whole or in part and that no person other than SIFMA and the Chamber,
      their members, or their counsel has made any monetary contributions intended
      to fund the preparation or submission of this Brief. See Fed. R. App. P.
      29(a)(4)(E).
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represent the interests of its members in matters before Congress, the Executive

Branch, and the courts. To that end, the Chamber regularly files amicus briefs in

cases, like this one, that raise issues of concern to the nation’s business community.

      Amici represent the interests of numerous participants in the asset

securitization market, including loan originators, sponsors, and underwriters;

institutional investors; and credit-rating agencies. They share a strong interest in the

first question certified for interlocutory appeal: Whether, under the Consumer

Financial Protection Act (“CFPA”), 12 U.S.C. §§ 5481 et seq., the Appellant Trusts

are “covered persons” subject to the enforcement authority of the Consumer

Financial Protection Bureau (“CFPB”).2

      In short, passive investment trusts such as the Appellant Trusts were never

intended to be, and are not, “covered persons.” Amici submit this Brief to provide

important information and context relating to passive securitization trusts, including

the nature of such trusts, the history of the “covered person” definition in the

CFPA—in particular, the deletion from the legislation of overbroad language that

arguably could have covered passive trusts—and the potential adverse impact of the




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      Amici also support the position of Appellants with respect to the second
      certified question regarding the constitutional infirmity of this enforcement
      action. However, this Brief will focus on the CFPB’s erroneous application
      of the CFPA to passive securitization trusts.
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CFPB’s position on asset securitization markets and, as a consequence, to the very

consumers the CFPA is intended to protect.

                                    INTRODUCTION

      Securitization is a mechanism for loan originators to package and sell loans

into the capital markets, and it plays a crucial role in providing credit to consumers

at affordable rates. Because the capital markets comprise a broad array of investors,

securitization increases and diversifies the number and type of entities that may

invest in loans, including consumer loans. Securitization also removes loans from

the balance sheets of loan originators, freeing up capital to make new loans. A

significant, beneficial effect of the securitization of consumer debt is the creation of

a wider and deeper pool of liquidity, making consumer credit more widely available

at more favorable interest rates.

      Securitization thus plays a key role in the provision of credit to U.S.

consumers. Indeed, more than half of outstanding U.S. consumer debt is securitized.

In 2021, securitized debt comprised $8.6 trillion of consumer debt, accounting for

72% of the $16.6 trillion total U.S. consumer debt outstanding. US Asset Backed

Securities         Statistics,        SIFMA            (Aug.          2,         2022),

https://www.sifma.org/resources/research/us-asset-backed-securities-statistics/. As

of the fourth quarter of 2021, approximately $146 billion of student loan debt,

$11.5287 trillion of residential mortgage debt, $220.6 billion of automobile loan

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debt, and $53.9 billion in credit card receivables was securitized. Id. Billions more

in other types of consumer debt is securitized, including such diverse instruments as

cell phone contracts, boat and recreational vehicle loans, and equipment loans. Id.

       To allow for loans to be accurately valued and sold to investors, they are

placed into entities whose only purpose is to hold the loans. These “passive

securitization trusts” have no assets apart from the loans. The trusts have no

employees; they are legally separate from the sponsor, the depositor and the other

entities involved in the securitization process; and engage only indirectly—if at all—

in providing any consumer financial service. They exist solely to hold the loans, to

receive loan payments, and to allocate those payments according to their constitutive

documents, with most of the payments going to investors.

       Investors participate in passive securitization trusts by purchasing asset-

backed securities (“ABS”), which are securities derived from the pool of underlying

assets held in the trusts (i.e., the loans). Several parties participate in the transactions

that create these asset-backed securities.         “Originators” issue loans that are

ultimately placed in the trust. “Sponsors,” which may or may not be affiliates of the

originators, acquire loans from one or more originators. A sponsor then packages

the loans together and sells them to a “depositor,” which usually is a special-purpose-

vehicle affiliate of the sponsor. See Reed D. Auerbach & Charles A. Sweet,

Offerings of Asset-Backed Securities § 1.02 (4th ed. 2022) (“Offerings of ABS”);

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see also Fed. Housing Fin. Agency v. Nomura Holding Am., Inc., 104 F. Supp. 3d

441, 462–64 (S.D.N.Y. 2015). The depositor deposits the loans into the trust in

exchange for certificates. The depositor then sells the certificates to an underwriter,

who takes them to market. Nomura Holding Am., Inc., 104 F. Supp. 3d at 464. In

this manner, “[s]ecuritization . . . separate[es] the risks inherent in any pool of

receivables from the other risks related to the originator.” Offerings of ABS § 2.01.

      The cash flows generated by borrower payments on the underlying loans are

used to make payments to investors on a fixed schedule. Id. This requires a party

to collect payments, pursue non-paying borrowers, and remit the payments to the

passive securitization trust.    Credit Encyclopedia Series: Structured Finance

Encyclopedia, Fitch Ratings 7 (“Fitch Structured Finance Encyclopedia”),

https://www.fitchratings.com/campaigns/structured-finance-encyclopedia.

      “[T]he primary goal of securitization is to issue ABS whose credit risk can be

evaluated by credit rating agencies and investors based solely on the projected cash

flows from the underlying asset pool, together with any credit enhancement

mechanisms that are embedded in the securitization structure.” Offerings of ABS

§ 1.02. Because securitizations are structured to isolate the assets from the risks of

the originator, depositor, and other parties, credit ratings agencies consider only a

limited number of factors when assigning credit ratings to them. For example, Fitch

Ratings considers “the credit profile of the underlying assets, the legal and financial

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structure of the transaction, credit enhancement, liquidity protection mechanisms,

[and] isolation from the risk of default of the securitization’s counterparties.” Fitch

Structured Finance Encyclopedia 9. If this isolation were disturbed, ratings agencies

and securitization investors would have to consider a much wider array of risks,

including the creditworthiness and operational risks of the sponsor and other parties

to the securitization.

          By seeking to treat passive securitization trusts as “covered persons” subject

to its enforcement authority, the CFPB risks undermining the structure of consumer

debt securitizations. This will upset the expectations of securitization investors, who

did not anticipate that the securitizations in which they invested might face these

sorts of operational risks. And because investors demand a higher return for riskier

investments, the added complexity and risk resulting from treating passive

securitization trusts as covered persons will raise the cost and lower the level of

investment in consumer debt—increasing the cost and reducing access to consumer

credit.




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                           SUMMARY OF ARGUMENT

      The CFPB has enforcement authority under the CFPA against “covered

persons.” 12 U.S.C. § 5511(c)(4). The CFPA defines a “covered person” in relevant

part as “any person that engages in offering or providing a consumer financial

product or service . . . .” 12 U.S.C. § 5481(6)(A).

      In holding that the Appellant Trusts are “covered persons” under the CFPA,

the district court surveyed dictionary definitions of “engage,” including—“to

embark in any business” or to “enter upon or employ oneself in an action.” Mem.

Op. at 8 (internal quotation marks omitted). The court then summarily concluded,

without consideration of context, that the Appellant “Trusts ‘embark[ed] in [the]

business’ of collecting debt and servicing loans when they contracted with the

servicers and subservicers to collect their debt and service their loans.” Id. at 8–9

(alterations in original). The court thus reached a result that is both contrary to the

intent of Congress in enacting the CFPA and inconsistent with the well-established

understanding of the role of passive securitization vehicles such as the Appellant

Trusts, which by their passive nature “embark in” no business at all.

      Amici support the arguments of the Appellant Trusts as set forth in the

Appellants’ Brief, and write to provide important context regarding the error in the

district court’s conclusion. First, in enacting the CFPA, Congress specifically

considered and rejected including in the definition of “covered persons” even entities

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that are “indirectly” engaged in providing consumer products or services. Treating

wholly remote, passive entities such as the Trusts as “covered persons” is flatly

contrary to that clear congressional intent. Second, subjecting passive securitization

trusts to liability would be inconsistent with the broader regulatory framework. The

securitization industry’s primary regulator, the SEC, has long chosen not to impose

obligations or liabilities on passive investment vehicles such as the Trusts. Third,

imposing direct liabilities on passive securitization trusts would frustrate the

expectations of securitization investors and would make credit more costly and less

available, with the perverse effect of harming the very consumers that the CFPA is

intended to protect. This Court should reverse the district court’s decision and hold

that passive securitization vehicles are not “covered persons” under the CFPA.

                                   ARGUMENT

I.   THE STATUTORY HISTORY OF THE CFPA DEMONSTRATES
     THAT CONGRESS DID NOT INTEND TO INCLUDE PASSIVE
     SECURITIZATION TRUSTS IN THE DEFINITION OF “COVERED
     PERSONS” SUBJECT TO THE CFPB’S ENFORCEMENT POWER.

      The district court failed to consider the statutory history of the CFPA, which

demonstrates that passive securitization trusts are not “covered persons” subject to

the CFPB’s enforcement power, because they are not directly involved in “providing

a consumer financial product or service.” 12 U.S.C. § 5481(6)(A).




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      Congress enacted the CFPA as part of the Dodd-Frank Wall Street Reform

and Consumer Protection Act of 2010 (“Dodd-Frank”). Dodd-Frank was Congress’

response to the 2008 financial crisis. The Act targeted multiple sectors of the finance

industry that Congress perceived to have played a role in causing or exacerbating

the crisis. For example, it created new lending standards for mortgages, subjected

credit-rating agencies to new disclosure requirements and heightened legal liability,

established new reporting and registration requirements for hedge funds, and gave

the CFTC oversight of OTC derivatives, swaps clearing, and reporting requirements.

See Heath P. Tarbert, The Dodd-Frank Act—Two Years Later, 66 CONSUMER FIN.

L.Q. REP. 373, 376–378 (2012); see generally Baird Webel et al., Cong. Rsch. Serv.,

R41350, The Dodd-Frank Wall Street Reform and Consumer Protection Act:

Background     and    Summary      (2017),       https://crsreports.congress.gov/product/

pdf/R/R41350 (“CRS on Dodd-Frank”). Tellingly, Congress did not target passive

securitization vehicles in the comprehensive provisions of the Act.

      In enacting the CFPA, Congress expressly considered and ultimately rejected

a definition of “covered person” that would have brought any entity that “indirectly

. . . engages in offering or providing a consumer financial product or service” within

the ambit of the CFPA (emphasis added). Eliminating this language narrowed the

potential coverage of the statute by excluding even “indirect” participants. It

necessarily follows that Congress intended to exclude wholly passive entities from

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coverage. See Mohasco Corp. v. Silver, 447 U.S. 807, 822–24 (1980) (stating that

Congress “expressly rejected [] language” where the House deleted language from

a statute before enactment).

      An examination of the House and Senate bills that formed the basis for Dodd-

Frank demonstrates the evolution of the statutory language. Predecessor bills to the

CFPA included the Restoring American Financial Stability Act (S. 3217), the

Consumer Financial Protection Agency Act (H.R. 3126), and the Wall Street Reform

and Consumer Protection Act of 2009 (H.R. 4173). The progression of these bills

shows that Congress did not intend to include as “covered persons” entities such as

passive securitization vehicles that do not play a direct role in the conduct Congress

was seeking to target.

      As enacted, the CFPA is Title X of the Dodd-Frank Act. On July 8, 2009,

Chairman Barney Frank of the House Committee on Financial Services introduced

H.R. 3126, the “Consumer Financial Protection Agency Act” (Title X). H.R. 3126,

111th Cong. (July 8, 2009). This bill went through a lengthy process, culminating

in the House after numerous revisions as H.R. 4173, the Wall Street Reform and

Consumer Protection Act of 2009 (“Dodd-Frank Act”), which the House passed on

December 11, 2009.

      In parallel, on November 16, 2009, the Senate Committee on Banking,

Housing, and Urban Affairs issued a committee print of the Restoring American

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Financial Stability Act of 2009 (“RAFSA”) (S. 3217). CRS on Dodd-Frank at 2.

After a lengthy process, the Senate ultimately inserted language from RAFSA into

the House version of the Dodd-Frank Act, and passed this updated version. S. 3217,

111th Cong. (as incorporated into H.R. 4173 as an amendment, May 20, 2010); H.R.

4173, 111th Cong. (as passed by Senate in lieu of S. 3217, May 20, 2010).

      In the end, the House and Senate both adopted the House language,3 and the

Dodd-Frank Act was signed into law on July 21, 2010. Dodd-Frank Wall Street

Reform and Consumer Protection Act, Pub. L. No. 111-203, 124 Stat. 1376 (2010).

      The early versions of both the House and the Senate bills defined “covered

person” as one who “directly or indirectly” engages in the provision of financial

products or services. Specifically, the July 8, 2009 draft of H.R. 3126, the November

10, 2009 discussion draft of S. 3217, and the December 2, 2009 draft of H.R. 4173,

all defined “covered person” as “any person who engages directly or indirectly in a

financial activity, in connection with the provision of a consumer financial product

or service” (emphasis added). See H.R. 3126, 111th Cong. (as introduced to House,


3
      On June 30, 2010, after Conference Committee, the House agreed to the final
      language of the Dodd-Frank Act. H.R. Rep. No. 111-517 (2010) (Conf. Rep.);
      H. Roll Call Vote No. 413 on H.R. 4173, 111th Congress (June 30, 2010),
      https://clerk.house.gov/Votes/2010413. The Senate agreed to this language
      on July 15, 2010. H.R. Rep. No. 111-517 (2010) (Conf. Rep.); S. Roll Call
      Vote No. 208 on H.R. 4173, 111th Congress (July 15, 2010),
      https://www.senate.gov/legislative/LIS/roll_call_votes/vote1112/vote_111_2
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July 8, 2009); S. 3217, 111th Cong. (discussion draft Nov. 10, 2009),

https://www.llsdc.org/assets/DoddFrankdocs/bill-111th-s3217-discussion-

draft.pdf; H.R. 4173, 111th Cong. (as introduced to House, Dec. 2, 2009).

      This broad language received immediate, negative attention, including from

Amicus Chamber of Commerce. The Chamber voiced its concerns in a September

30, 2009 letter to the House Committee on Financial Services.               This letter

specifically warned that H.R. 3126 was overbroad because it did “not focus on

entities that are solely, or even principally, engaged in financial service activities.”

Instead, the broad proposed language “cast[] an extremely broad net that would

encompass a vast segment of the entire economy.” Letter from Andrew J. Pincus on

behalf of the U.S. Chamber of Commerce, to the H. Comm. on Fin. Serv. on

Perspectives on the Consumer Financial Protection Agency (Sept. 30, 2009).

      The House further addressed the overbreadth of the proposed language in a

hearing on September 23, 2009, in the House Committee on Small Business. In

prepared and live testimony, industry experts including the Chamber warned of the

adverse impact and unintended consequences of the bill, including the “covered

person” definition.

      In written testimony, David T. Hirschmann of the Chamber stated that the

proposed “covered person” definition was “the wrong way to enhance consumer

protections and will have significant and harmful unintended consequences for

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consumers, for the business community, and for the overall economy.” The Impact

of Financial Regulatory Restructuring on Small Businesses and Community Lenders

Before the H. Comm. on Small Bus., 111th Cong. 72 (2009) (statement of David T.

Hirschmann, U.S. Chamber of Commerce). Specifically, Mr. Hirschmann warned

that the “indirectly” language would cover a broad swath of market participants

whose functions relate only tangentially to consumer financial services. Id. at 76.

      A representative from the mortgage industry made the related point that the

overbroad “direct or indirect” language would assign too much power to a new and

untested agency, in areas that had long been the province of well-established

regulators. Warning that the broad language of H.R. 3126 could give the CFPB

jurisdiction “over all persons covered by the statutes the agency implements,

including banks and bank affiliates, non-bank entities, and institutions currently

regulated exclusively by one of the federal prudential regulators,” the National

Association of Mortgage Brokers cautioned that “the CFPA may be regulating in

areas that have not been addressed by Congress and therefore, not subject to

hearings, oversight or certain checks and balances.” The Impact of Financial

Regulatory Restructuring on Small Businesses and Community Lenders Before the

H. Comm. on Small Bus., 111th Cong. 83 (2009) (statement of Mike Anderson, Vice-

Chairman of Government Affairs, National Association of Mortgage Brokers). The



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Association specifically advocated for a narrower definition of “covered person.”

Id. at 84.

       Shortly after this testimony urging the narrowing of the definition of “covered

person,” the “indirectly” language was removed. None of the March 15, 2010

“committee print” draft of S. 3217, the April 15, 2010 draft of S. 3217, or the May

20, 2010 draft of H.R. 4173, included the broad “directly or indirectly” language.

Instead, they defined “covered persons” as the term was ultimately enacted: “any

person that engages in offering or providing a consumer financial product or

services.” See S. 3217, 111th Cong. (Comm. Print Mar. 15, 2010); see also S. 3217,

111th Cong. (as introduced to Senate, Apr. 15, 2010); see also H.R. 4173, 111th

Cong. (as passed by Senate in lieu of S. 3217, May 20, 2010).

       The statutory history shows that Congress plainly knew how to authorize the

CFPB to regulate entities “directly or indirectly” involved in the provision of

financial services, that Congress expressly considered giving the CFPB this broad

mandate, and that Congress decided not to do so. Statutory history, including

language expressly rejected by Congress, is an important and appropriate factor for

construing the language of a statute as enacted. Ashton v. Pierce, 716 F.2d 56, 62

(D.C. Cir.), amended, 723 F.2d 70 (D.C. Cir. 1983). And where, as here, Congress

considers and changes proposed statutory language, courts should interpret the

change as deliberate, Mohasco Corp., 447 U.S. at 822–24, and “may not assume”

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that Congress made a change for “no reason at all.” Ashton, 716 F.2d at 62.

Congress’ express consideration and modification of the definition of “covered

person” mandate the conclusion that the deletion of “indirectly” was deliberate.

      This history is dispositive as to the application of the CFPA to passive

securitization trusts—which are, at most, indirectly involved with the provision of

financial products or services. Passive trusts exist solely to effectuate the pass-

through of cash flows from loans that third parties originate and service. They do

not, and cannot, “engage in” offering or providing consumer financial products or

services such as the debt collection services at issue here—and they certainly do not

do so directly.

II. THE CFPB’S POSITION IS INCONSISTENT WITH THAT OF THE
    INDUSTRY’S PRIMARY REGULATOR, AS THE SEC DOES NOT
    IMPOSE DIRECT OBLIGATIONS OR LIABILITIES ON PASSIVE
    SECURITIZATION TRUSTS.

      The position of the CFPB also stands starkly at odds with that of the primary

regulator of the securitization industry, the Securities and Exchange Commission

(“SEC”). The SEC has a comprehensive regulatory framework for asset-backed

securities, and it has long avoided imposing direct obligations or liabilities on

passive securitization trusts.

      The SEC imposes obligations and liabilities upon virtually every entity

involved in asset-backed securitization—except for passive securitization trusts. For


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example, the SEC’s comprehensive set of regulations addressing publicly issued

asset-backed securities, Regulation AB (“Reg AB”), imposes various registration,

disclosure, and reporting requirements on loan sponsors, depositors, and servicers—

but not on passive securitization trusts. Likewise, the SEC’s Dodd-Frank Rules

regarding asset-backed securities—which consist of a host of rules targeting various

entities involved in securitization—do not impose direct obligations or liabilities

upon passive securitization trusts. Imposing liability on passive securitization trusts

as the CFPB seeks to do would run wholly contrary to the SEC’s longstanding

regulatory framework.

     A.    Regulation AB Does Not Impose Direct Obligations or Liabilities on
           Passive Securitization Trusts.

      Reg AB and the SEC’s related adopting releases over the years demonstrate

the SEC’s recognition of the role of passive securitization trusts in ABS

securitizations and the importance of these entities’ legal separation from the

liabilities of other entities involved in the securitization process.

      Reg AB, codified at 17 C.F.R. §§ 229.1100, et seq., is a comprehensive set of

regulations that governs registration, disclosure, and reporting requirements under

the Securities Act of 1933 (“Securities Act”) and Securities Exchange Act of 1934

(“Exchange Act”) for publicly offered securities that meet Reg AB’s definition of

an “asset-backed security.” The SEC originally adopted Reg AB in 2005 (prior to


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the enactment of Dodd-Frank and the CFPA) and broadened it in 2014 (after the

enactment) with the goal of increasing investor protections and promoting more

efficient asset-backed markets. See Asset-Backed Securities, 70 Fed. Reg. 1506

(Jan. 7, 2005) (“2005 Adopting Release”); Asset-Backed Securities Disclosure and

Registration, Final Rule, 79 Fed. Reg. 57184 (Sept. 24, 2014) (“2014 Adopting

Release”).

        The passive nature of the issuing entity (i.e., the securitization trust) is critical

to Reg AB’s definition of an “asset-backed security.” To qualify as an “asset-backed

security,” the definition requires, in relevant part, that the issuing entity’s “activities

. . . are limited to passively owning or holding the pool of assets, issuing the asset-

backed securities supported or serviced by those assets, and other activities

reasonably incidental thereto.”        17 C.F.R. §§ 229.1101(c)(1), (c)(2)(ii).         This

definition codifies the SEC’s longstanding view that the “limited function and

permissible activities” of the issuing entity are “fundamental” to the notion that an

asset-backed security is essentially “a security that is to be backed solely by a pool

of assets.” 2005 Adopting Release at 1516 (emphasis added). Consistent with this

view, passive securitization trusts that issue asset-backed securities are “designed to

be [] solely passive,” and have “no business or management.” See id. at 1511, 1508,

1531.



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      Reg AB also explicitly distinguishes between the roles and responsibilities of

passive securitization trusts and those of other parties such as the sponsor, depositor,

and servicer. For example, the SEC recognized in its 2005 Adopting Release that

the entity issuing the asset-backed securities (the trust) does not collect payments

from obligors “[b]ecause the issuing entity is designed to be a passive entity.” Id. at

1511. Instead, according to the SEC, one or more servicers are “generally necessary

to collect payments from obligors of the pool assets, carry out the other important

functions involved in administering the assets and to calculate and pay the amounts

net of fees due to the investors that hold the asset-backed securities . . . .” Id. Thus,

contrary to the district court’s conclusion, debt collection and loan servicing are not

“core aspects” of passive securitization trusts’ business model. Mem. Op. at 9.

Rather, as the SEC expressly stated, these activities are the domain of the servicer.

      Further reflecting the passive nature of these vehicles, Reg AB does not

include passive securitization trusts under the common registration, disclosure, and

reporting requirements that it imposes on other participants in ABS securitizations—

such as sponsors, depositors, and servicers. See, e.g., 2014 Adopting Release at

57299–300 (requiring sponsor to report any changes in interest on Form 8-K); 57267

(imposing certification shelf transaction requirement on depositor’s CEO); 57242

(describing amendments to Reg AB Items 1104, 1108, and 1110 requiring disclosure

regarding sponsor, servicer, or 20% originator’s interest retained in the transaction).

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In addition, given the “restrictive activities of the issuing entity [the passive

securitization trust] in connection with the ABS transaction,” Reg AB exempts asset-

backed securities altogether from certain Exchange Act disclosure requirements that

are imposed on issuers of other types of securities. See 2005 Adopting Release at

1580; see also 17 C.F.R. § 240.3a12-12 (exempting asset-backed securities, as

defined in Reg AB, from Exchange Act Section 16, 15 U.S.C. § 78p).

      As a whole, the framework of Reg AB demonstrates the SEC’s recognition

that imposing direct obligations or liabilities on passive securitization trusts is

inconsistent with the very nature of those entities, and that any obligations or

liabilities related to issuing and servicing the underlying securities should rest with

other parties such as the servicers.

     B.    The SEC’s Dodd-Frank Rules for Asset-Backed Securities Do Not
           Impose Obligations or Liabilities on Passive Securitization Trusts.

      The SEC’s final Dodd-Frank Rules applicable to asset-backed securities

likewise do not impose obligations on passive securitization trusts. These rules were

enacted in the wake of the 2008 financial crisis, in parallel with the CFPA. Because

one type of securitized product—mortgage-backed securities—was perceived to

have played a key role in precipitating the financial crisis, the SEC responded by

creating a host of new regulations targeting various entities involved in

securitization. See Tarbert, 66 CONSUMER FIN. L.Q. REP. at 378. Tellingly, none of


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these regulations impose direct obligations or liabilities upon passive securitization

trusts.

          For example, the final risk retention rules for asset-backed securities, codified

in 17 C.F.R. §§ 246.1 to 246.22 (“Reg RR”), which were promulgated pursuant to

Section 941 of Dodd-Frank, require that the party who organizes and initiates the

securitization—the “securitizer” (i.e., the sponsor/depositor—or, in certain

circumstances, the originator)—retain at least a 5% credit risk in an asset-backed

transaction. Credit Risk Retention, 79 Fed. Reg. 77602 (Dec. 24, 2014) (“Reg RR

Adopting Release”). In recognition of the “broad purpose” of Dodd-Frank to

“restore investor confidence in asset-backed finance, and permit securitization

markets to resume their important role as sources of credit for households and

businesses,” the SEC issued Reg RR to ensure that the risks of assets underlying

asset-backed securities are monitored and assessed by the parties best positioned to

do so: the securitizers. Reg RR Adopting Release at 77655 & n.173 (quoting S. Rep.

No. 111-176, at 129 (internal quotation marks omitted)).              Thus, by requiring

securitizers to retain an interest in the asset-backed transaction, Reg RR seeks to

“align[] [the] economic interests” of those who “organize and initiate the

securitizations” with those of investors by requiring securitizers to “have ‘skin in the

game’.” Id.



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      Notably, while Reg RR imposes these obligations on securitizers, it does not

require passive securitization trusts to maintain any of the credit risk of the asset-

backed securities, evidencing the SEC’s understanding of the issuing entity’s wholly

passive role in the securitization process. Simply put, the passive securitization trust

has no behavior to influence and no interests to align, contrary to the apparent

rationale of the district court here.

      Similarly, Rule 15Ga-1, which imposes certain asset-review and repurchase-

disclosure requirements on sponsors and depositors of asset-backed securities, does

not impose any requirements on passive issuing entities. See Disclosure for Asset-

Backed Securities Required by Section 943 of the Dodd-Frank Wall Street Reform

and Consumer Protection Act, 76 Fed. Reg. 4489 (Jan. 26, 2011) (codified in 17

C.F.R. § 240.15Ga-1).       The SEC’s Dodd-Frank rules also impose disclosure

obligations and conflict of interest requirements on other entities involved in

securitizations—such as credit rating agencies and providers of third-party due

diligence services for asset-backed securities—but not on the passive securitization

trusts themselves. See 17 C.F.R. § 240.17g-5 (“Rule 17g-5”).

      In sum, the SEC, which has pervasive regulatory authority over the

securitization industry, imposes obligations and liabilities upon every actor in the

securitization process other than passive securitization trusts. This is because



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imposing direct obligations or liabilities upon the trusts would serve no purpose and

makes no sense, given their wholly passive role.

III. INCLUDING PASSIVE SECURITIZATION TRUSTS AS “COVERED
     PERSONS” UNDER THE CFPA WOULD INCREASE THE COST AND
     REDUCE THE AVAILABILITY OF CONSUMER DEBT.

      Sweeping passive securitization trusts into the scope of “covered persons” has

the potential to lead to new and unanticipated liability, undermining the

securitization markets and ultimately making consumer credit more costly and less

available. First, the CFPB’s expansive interpretation of its enforcement authority

under the CFPA would frustrate the expectations of securitization investors by

creating a novel risk for which those investors had not bargained. Second, bringing

passive securitization trusts within the scope of the “covered persons” definition

would have the perverse effect of harming the very consumers that the CFPA was

designed to protect. These effects would not be limited to student loans. They would

impact multiple categories of routinely securitized consumer debt such as residential

mortgages, credit card debt, auto loans and others, increasing the cost and thereby

reducing the availability of affordable credit for those consumers who most need it.

      Subjecting passive securitization trusts to the CFPB’s enforcement authority

would add a new dimension of risk to securitizations. The trusts, by design, have no

assets apart from the loans that they hold, and they have no source of income other

than the payments on those loans. This design allows investors to “assume the risks

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inherent in a discrete pool of financial assets but avoid the risks inherent in an

operating company.” Offerings of ABS § 2.01. But this also means that any

liabilities imposed on the trust would necessarily diminish the funds available to pay

investors, because a securitization trust, unlike an operating company, has no other

funds on which to draw. Exposing passive securitization trusts to this sort of liability

runs counter to the expectations of securitization investors, who invested in products

based on the reasonable understanding backed by years of practice that these

products do not carry operational risks. If the district court’s decision stands, it will

lead to a re-evaluation of risk, which could lead investors to reduce or exit their

positions, as the investments may be riskier than the returns justify.

      Compounding the problem, the specter of CFPB liability could lead credit-

rating agencies to downgrade the credit ratings of securitizations, which could force

investors to reduce or sell their positions.      Public and private pension plans,

insurance companies and university endowments are among the largest

securitization investors. Many of these institutional investors are required by their

constitutive documents to invest a large percentage of their assets in products that

meet certain credit-rating thresholds.      If securitization trusts fall below these

thresholds, these investors would be forced to sell. And with many investors

required to sell at once due to downgrades, these sales would likely occur at

depressed prices, to the detriment of the underlying holders of those investments.

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This is not merely a theoretical concern. Following the filing of this lawsuit, Fitch

placed 17 tranches of NCSLT transactions on “Ratings Watch Negative,” signaling

that a credit downgrade could occur. Sasha Padbidri, CFPB lawsuit, potential rating

downgrades add to NCSLT struggles, Global Capital (Sept. 25, 2017),

https://www.globalcapital.com/securitization/article/28mtafkevrmvtb35ui8zk/cfpb-

lawsuit-potential-rating-downgrades-add-to-ncslt-struggles.

      Imposing operating risks on passive securitization trusts will also lead to

correspondingly higher payments for newly generated securitizations, to the

detriment of consumers seeking credit. This is because investors will demand higher

premiums in exchange for the additional risks that they are assuming. Borrowers

will then have to pay higher interest rates so that loans remain attractive. As a

consequence, consumer credit will be costlier and less available, as the current

environment of rising interest rates makes clear.

      The specter of CFPB liability would also harm consumers in other ways. Any

losses taken by public and private pensions as a result of exiting positions in

consumer debt securitizations could impact retiree beneficiaries of those pensions.

Similarly, losses by insurance companies could lead to higher insurance premiums

for consumers. None of these impacts is consistent with the purpose and intent of

the CFPA.



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                                   CONCLUSION

          For the foregoing reasons, this Court should reverse the district court’s

decision that “covered persons” under the CFPA includes passive securitization

trusts.


Dated: September 30, 2022

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               COMBINED CERTIFICATE OF COMPLIANCE

      I, Stephen Nickelsburg, counsel for amici curiae, certify, pursuant to Local

Appellate Rule 46.1(e), that I am a member in good standing of the Bar of this Court.

      I further certify, pursuant to Federal Rule of Appellate Procedure 32(a)(5) and

(6) and Local Appellate Rule 32.1(c), that this Brief complies with the typeface and

type-style requirements of the Rules because the document was prepared in a

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detection program has been run on the file using Webroot Endpoint Protection

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September 30, 2022

                                        s/ Stephen Nickelsburg
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                       CERTIFICATE OF SERVICE

      I, Stephen Nickelsburg, hereby certify that on September 30, 2022, I

electronically filed the foregoing Brief with the Clerk of Court by using the

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                                      s/ Stephen Nickelsburg
